                  Case 2:13-cv-00193 Document 775-24 Filed on 11/19/14 in TXSD Page 1 of 2
From                                    Peters Joe
To                                      Bodisch        Robert

Sent                                    9172013         120006 PM
Subject                                 RE     photo    Id   for   voters




Yes


From Bodisch              Robert

Sent Tuesday              September 17 2013              1200 PM
To Peters Joe
Subject    Re photo Id for voters


Can you call him and let him know


Robert J Bodisch

Assistant DirectorChief                  of Staff

Texas Homeland                 Security

TexasDept of Public                   Safety

5124242368 w
robertbodischdpstexasgov




On Sep 17 2013                 at    1149 Peters Joe <JoePeters2dpstexasgov> wrote


Sounds     like       a   good        plan to     me         Once we         are set up to      hit   the trail   we will   coordinate with Clint



From Bodisch              Robert
Sent Tuesday              September 17 2013              1121 AM
To Peters Joe
Subject    photo          Id   for voters




Maybe we could dispatch                   a Mobile       Team when they             are ready     We will     need   the Sheriff   or County Elections

Administrator         to set        everything    up so       we could come in and spend 12 days and then move on to the next location


Robert     J Bodisch
Assistant        DirectorChief
Texas Homeland Security
Texas Department of Public Safety
P 0 Box 4087
Austin Texas 79773
5124242368
robertbodiscluadpstexasgov                                                                                           2:13-cv-193
                                                                                                                                      exhibitsticker.com




robertbodischsleadhssgovgov                                                                                          09/02/2014
<image001jpg>
                                                                                                                  DEF1459
From McCraw               Steven
Sent Tuesday              September 17 2013              851 AM
To Clint mcdonald
Cc Bodisch Robert
Subject    RE     photo         Id   for voters




Clint   Duke   will   follow         up with you on          this   to   ensure   Terrell   County is   not   overlooked     Thanks                        Steve



From clint mcdonald                  ma iItotcso222yahoocom

                                                                                                                                                                   TEX0506964
                  Case 2:13-cv-00193 Document 775-24 Filed on 11/19/14 in TXSD Page 2 of 2
Sent Tuesday          September 17 2013         849 AM
To McCraw Steven
Cc tcso222yahoocom
Subject       photo   Id   for voters




Steve

Quick question          not sure   if   Joe will handle this through   DL or not but for the people here in Terrell County will there
be a time and or place here for people             to   go who do not have   a DL to get a photo ID to vote   Our nearest DL office

is   in Ft   Stockton      64 miles away
See you soon in San Diego

Thanks for all you do

God Bless
Clint




                                                                                                                                TEX0506965
